Case 5:18-cv-01526-SMH-KDM Document 222 Filed 12/13/22 Page 1 of 1 PageID #: 5590




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION


  MAGNOLIA ISLAND PLANTATION L L C                    CASE NO. 5:18-CV-01526
  ET AL

  VERSUS                                              JUDGE S. MAURICE HICKS, JR.

  LUCKY FAMILY L L C ET AL                            MAG. JUDGE KAYLA D. MCCLUSKY


                            NOTICE OF DEFICIENT DOCUMENT


  NOTICE TO FILER:

  The Motion for Summary Judgment filed on November 30, 2022, by Kimberly Flournoy, Julian
  C Whittington was DEFICIENT for the following reason(s):

       ✓      No statement of material facts accompanied this motion for summary judgment.
              Please see LR56.1 for instructions regarding statements of material fact.


  Please electronically submit a “Corrective Document” within 10 days from the date of this
  notice or the document may be stricken by the court. PLEASE ENTITLE THE
  SUBMISSION, “CORRECTIVE DOCUMENT.” All filing deadlines previously set remain
  in effect. Issuance of this deficiency does not amount to an extension of any deadline.

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